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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

ESROM DEMEKE                                                CIVIL ACTION

VERSUS                                                      NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                           ORDER

       The plaintiff(s) in this cause having tendered to the Court a complaint and affidavit(s)

with a request for leave to proceed in forma pauperis;

       IT IS HEREBY ORDERED:

       ( )     Plaintiff(s) application for leave to proceed in forma pauperis is DENIED. The
               plaintiff(s) is responsible for service of summons and complaint on the
               defendant(s).

       ( )     Plaintiff(s) application for leave to proceed in forma pauperis is GRANTED. The
               Clerk shall file said complaint without prepayment of costs or security thereof and
               the Clerk is directed to issue process to the defendant(s). The plaintiff(s) is
               responsible for service of summons and complaint on the defendant(s).

       (X)     Plaintiff(s) application for leave to proceed in forma pauperis is GRANTED. The
               Clerk shall file said complaint without prepayment of costs or security thereof.
               Plaintiff is responsible for submitting the summons and address for the
               defendant(s). Upon plaintiff submitting the summons and address for the
               defendant(s), the Clerk is directed to issue process to the defendant(s). The
               United States Marshals Service shall serve the summons and complaint on the
               defendant(s) wherever found. Plaintiff(s) will be required to provide to the
               United States Marshal a completed U.S. Marshal Form 285 for each defendant to
               be served. The United States Marshal will not serve the defendant without a
               properly completed form.

       Signed in Baton Rouge, Louisiana, on March 8, 2019.




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                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
